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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

CHARLES L. JONES                           )
    Petitioner,                            )
v.                                         )      Case No. 12-CV-03055-JAR
                                           )
REX PRYOR, et al.,                         )
     Respondents.                          )


                    PETITIONER’S SEVENTH STATUS REPORT


       Petitioner Charles Jones, by and through his counsel, submits the following as his

seventh periodic report on the status of his related state court proceedings.

       1. When the Court issued its stay and abeyance order, it ordered counsel to update

          the Court every four months. In compliance with that, Mr. Jones files this

          report.

       2. This report notes three issues as to case status: (1) the need to amend the

          pending petition in Wyandotte County District Court to comply with the

          demands of the Supreme Court’s new decision in Shinn v. Martinez Ramirez,

          142 S. Ct. 1718 (May 23, 2022); (2) expanding the factual basis for Petitioner’s

          claim under Brady v. Maryland, 373 U.S. 83 (1963), in light of newly

          discovered facts; and (3) allotting adequate time for an evidentiary hearing,

          which now, under Shinn, should encompass the factual record for all claims,

          not just the Brady claim.

       3. The Supreme Court’s decision last month in Shinn has substantially expanded

          petitioner’s anticipated hearing and the necessity for further briefing in state
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   court, as it is apparent that the facts that support each claim, including claims

   brought under Martinez v. Ryan, 566 U.S. 1 (2012), should first be fully

   presented in state court. Obviously, the Court’s decision in Shinn substantially

   extends the scope of petitioner’s litigation in Wyandotte County.

4. At the same time, Petitioner’s counsel has uncovered substantial additional

   evidence supporting Petitioner’s Brady claim, which was returned to state

   court for the purpose of exhaustion. The new evidence establishes the lack of

   integrity in the police investigation and indicates that lead detective Roger

   Golubski had an illicit business relationship with the uncle of Mr. Jones’ co-

   defendant, Lakevis Tensley, and that a drug debt owed to their illicit enterprise

   was the likely motive for the shooting of Robert Trzok.

5. New evidence uncovered by counsel indicates that every aspect of Mr. Jones’s

   case has been tainted by the egregious misconduct and illicit acts of Detective

   Golubski, who never disclosed a host of material, exculpatory facts, including

   that:

      a. Key eyewitness Elaine Green, who identified Mr. Jones as being present

           at the scene, had been exploited for years by Golubski in a sexually

           coercive relationship in which she also served as his regular informant

           and was, in turn, supplied illegal drugs by him;

      b. Jones’ co-defendant Lakevis Tensley has admitted carrying the gun that

           was used to shoot the victim, Robert Trzok;
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      c. Tensley’s late uncle Ezekiel Payne, a well-known figure who ran several

          drug and gambling houses, had a business relationship with Golubski,

          sharing drug profits with him and paying him for protection;

      d. Tensley’s cousin (and Payne’s niece) Nakisha Freeman, whom Jones

          valued as a close friend and who is also an important witness, was

          sexually exploited by Golubski starting in her teen years;

      e. The victim, Robert Trzok, did business with Ezekiel Payne’s drug

          operation and allegedly owed money to Payne, which was the motive for

          the shooting of Trzok.

6. None of these material exculpatory and impeaching facts were disclosed to

   petitioner Charles Jones, who, at the time he was charged, was a homeless teen

   and lacked experience with the court system. Although Jones was present at the

   scene of the crime, he did not do the shooting and had no connection with the

   motive that actually prompted the assault – the fact that Trzok was behind on

   paying his drug debts. Jones had no plan to rob or harm Trzok.

7. The facts concerning the police investigation are deeply troubling and reflect

   how the police and justice system in Wyandotte County deprived Mr. Jones of

   any opportunity to have a fair trial, consistent with the demands of the United

   States and Kansas Constitutions.

8. Counsel has studied the Supreme Court’s recent decision in Shinn and believes

   that it will likely require development of a full factual record in state court,

   including not only the facts supporting the Brady claim, but also the facts
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          supporting Jones’ claims of ineffective assistance of counsel at trial and at his

          juvenile hearing.

      9. This case awaits further briefing in light of Shinn and will require two to three

          days for an evidentiary hearing in Wyandotte County District Court.

      10. Mr. Jones will continue to keep this Court updated by submitting any

          additional pleadings filed in the K.S.A. 60-1507 case.

                                                       Respectfully submitted,

                                                       /s/ Cheryl A. Pilate
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                               CERTIFICATE OF SERVICE

      I, Cheryl A. Pilate, certify that a true and accurate copy of the foregoing document
was served on the Clerk of the Court and on all counsel of record via the CM/ECF system
on June 30, 2022.

                                                /s/ Cheryl A. Pilate
